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                                   6                                  UNITED STATES DISTRICT COURT

                                   7                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         MICHAEL ALAN BONAZZA,
                                   9                                                        Case No. 23-cv-01161-JCS
                                                        Plaintiff,
                                  10
                                                 v.                                         ORDER STRIKING DOCKET NO. 64
                                  11
                                         MUFG UNION BANK, et al.,                           Re: Dkt. No. 64
                                  12
Northern District of California




                                                        Defendants.
 United States District Court




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                                  15          The Court has repeatedly cautioned Mr. Bonazza that he may only file a document in this

                                  16   case if he has a reasonable and good faith belief that it is permitted under the Federal Rules of

                                  17   Civil Procedure and the Civil Local Rules of this Court. See dkt. nos. 30, 59. Docket no. 64,

                                  18   entitled “Court Brief – Justification Behind a Motion for Trial,” does not relate to any cognizable

                                  19   motion and does not cite any rule – either under this Court’s Civil Local Rules or the Federal

                                  20   Rules of Civil Procedure – that authorizes such a brief. Nor does he point to any order by this

                                  21   Court authorizing it. Notwithstanding the liberal standards that apply to pro se plaintiffs, Mr.

                                  22   Bonazza must make at least a good faith attempt to comply with the procedural rules that govern

                                  23   civil cases. Instead, he has made no apparent effort to comply with the rules or to heed the Court’s

                                  24   warnings, inundating the Court with unauthorized filings. Accordingly, docket no. 64 is

                                  25   STRICKEN. Furthermore, going forward, any document filed by Mr. Bonazza will be

                                  26   stricken unless it cites to one of the following sources of authority permitting the filing: 1) a

                                  27   rule of the Federal Rules of Civil Procedure (e.g., Rule 12(b)(6), Rule 56); 2) a rule of the

                                  28   Northern District of California’s Civil Local Rules (e.g. Civil Local Rule 7, setting deadlines
                                   1   for motions and responsive briefs); or 3) an Order of this Court (e.g. a case management

                                   2   order, such as docket no. 35, requiring that the parties file a case management statement).

                                   3          IT IS SO ORDERED.

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                                   5   Dated: July 5, 2023

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                                                                                    JOSEPH C. SPERO
                                   7                                                United States Magistrate Judge
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Northern District of California
 United States District Court




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